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AO 257(Rev, 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: □ COMPLAINT              □ INFORMATION              S INDICTMENT                           Name of District Court, and/or Judge/Magistrate Location
                                                        □ SUPERSEDING                             NORTHERN DISTRICT OF CALIFORNIA
            OFFENSE CHARGED
                                                                                                                OAKLAND DIVISION
 18 U.S.C § 922{o) (Transfer or possession of a machinegun)      I I Petty
                                                                 I I Minor          f- DEFENDANT-U.S

                                                                     Misde
                                                                 □   meanor           ^ NOAH KANAYE BAUER
                                                                 0 Felony                  DISTRICT COURT NUMBER
PENALTY:      10 Years Imprisonment;
              3 Years Supervised Release;
              $250,000 Fine; and
              $100 Special Assessment
                                                                                                     CR 25 0079                                           ■?
                                                                                                                     DEFENDANT

                             PROCEEDING                                                      IS A/OriNCUSTODY
                                                                                                Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                            1) n If not detained give date any prior                 .
                                                                                               summons was served on above charges If
                       FBI SA Katelynn Lee Furtado
       person is awaiting trial in another Federal or State Court,                    2)        Is a Fugitive
  □ give name of court
                                                                                      3)        is on Bail or Release from (show District)

      this person/proceeding is transferred from another district
  □ per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                             IS IN CUSTODY

                                                                                      4)       On this charge                  MAR 2 0 2025
      this is a reprosecution of
      charges previously dismissed                                                    5) n On another conviction CLERK.U.S, DISTRICT COURT
  □ which were dismissed on motion                              SHOW                                                  N0RTHERf|01S[H]CFddia)LI[g-l!gfete
      of:                                                     DOCKET NO.
                                                                                      6) Q Awaiting trial on other charges
       Q U.S. ATTORNEY            Q DEFENSE
                                                      }                                         If answer to (6) is "Yes", show name of Institution

      this prosecution relates to a
                                                                                                                              If "Yes"
  r~1 pending case involving this same                                                     Has detainer ill!
      defendant                                               MAGISTRATE
                                                               CASE NO.
                                                                                           been filed?                   }    give date
                                                                                                                              filed

                                                                                           DATE OF        4            Month/Day/Year
      prior proceedings or appearance(s)
  [>^ before U.S. Magistrate regarding this
      defendant were recorded under                   }  5-mj-70294 MAG
                                                                                           ARREST         ^
                                                                                           Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                  DATE TRANSFERRED                           Month/Day/Year
Furnishing Information on this form              PATRICK D. ROBBINS                        TO U.S. CUSTODY               I
                                U.S. Attorney Q Other U.S. Agency

Name of Assistant U.S.                                                                     I I This report amends AO 257 previously submitted
Attorney (if assigned)                      Michelle J. Kane

                                                     ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

       □ SUMMONS □ NO PROCESS* □ WARRANT                                     Bail Amount:

       If Summons, complete following:
       □ Arraignment □ Initial Appearance                                    * IV/iere defendant previously apprehended on complaint, no new summons or
                                                                             warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                             Date/Time:                                   Before Judge:

       Comments;
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           niteti States; Bisitrict Court
                                     FOR THE
                NORTHERN DISTRICT OF CALIFORNIA


                    VENUE: OAKLAND



                         UNITED STATES OF AMERICA,                         MAR 20 2025
                                       V.                             CLERK. U.S. DISTRICT COURT
                                                                    NORTHERN DISTRICT OF CALIFORT '

                          NOAH KANAYE BAUER


                                                                Cfi 25 0079 \

                              DEFENDANT(S).


    INDICTMENT


           18 U.S.C. § 922(o)- Transfer or Possession ofa
                             Machinegun;
        18 U.S.C. § 924(d} and 28 U.S.C. § 2461(c)- Forfeiture
                              Allegation.




          A true bill.

                /s/ Foreperson of the Grand Jury
                                                        Foreman


          Filed in open court this             day of
            March, 2025




                                                   No Process




                  HorKKandis A. Westmore, U.S. Magistrate Judge
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 1   PATRICK D. ROBBINS(CABN 152288)
     Acting United States Attorney                                                     20 2025
 2
                                                                            clerk. U.S. DISTRICT CndflT
 3                                                                       'o^rnmoisTmoFlZZiA
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 8                                      UNITED STATES DISTRICT COURT

 9                                   NORTHERN DISTRICT OF CALIFORNIA

10                                              OAKLAND DIVISION
                                                                                     %
11   UNITED STATES OF AMERICA,                             CASE NO.
                                                                             CR 25 0079
12             Plaintiff,                                  VIOLATION:
                                                           18 U.S.C. § 922(o)- Transfer or Possession of a
13        V.
                                                           Machinegun;
                                                           18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)-
14   NOAH KANAYE BAUER,
                                                           Forfeiture Allegation.
15             Defendant.

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17                                               INDICTMENT

18   The Grand Jury charges:

19   COUNT ONE:              (18 U.S.C. § 922(o)- Transfer or Possession of a Machinegun)

20             On or about September 6, 2024, in the Northern District of California, the defendant,

21                                           NOAH KANAYE BAUER,

22   did knowingly possess a machinegun, that is, a 3D-printed machinegun conversion device, commonly

23   known as a "switch" or "auto sear," all in violation of Title 18, United States Code, Sections 922(o) and

24   924(a)(2).

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     INDICTMENT
           Case 4:25-cr-00079-AMO             Document 12         Filed 03/20/25       Page 4 of 5




 1   FORFEITURE ALLEGATION:                (18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

 2           The allegations contained in the sole count of this Indictment are re-alleged and incorporated by
 3   reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 924(d)
 4   and Title 28, United States Code, Section 2461(c).

 5           Upon conviction of the offense set forth in this Indictment, the defendant,

 6                                           NOAH KANAYE BAUER,

 7   shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,

 8   United States Code, Section 2461(c), any firearm and ammunition involved in the commission of the

 9   offense, including, but not limited to, the following property seized on or about September 6, 2024:

10                  a. One Black 9miTi Clock style handgun (no serial number);

11                  b. One Black Magpul Pmag 17 9mm magazine;

12                  c. Three Clock 19 3D printed pistol frames;

13                  d. One machinegun conversion device a/k/a "auto sear."

14           If any of the property described above, as a result of any act or omission of the defendant:

15                  a.      cannot be located upon exercise of due diligence;

16                  b.      has been transferred or sold to, or deposited with, a third party;

17                  c.      has been placed beyond the jurisdiction ofthe court;

18                  d.      has been substantially diminished in value; or

19                  e.      has been commingled with other property which cannot be divided without

20                          difficulty,

21   the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

22   United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

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     INDICTMENT
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 1          All pursuant to Title 18, United States Code, Section 924(d), Title 28, United States Code,
 2   Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

 3

 4   DATED: ^
 5                                                              /s/ Foreperson ofthe Grand Jui-
 6
                                                                FOREPERSON
 7                                                              Oakland, California
 8   PATRICK D.ROBBINS
     Acting United States Attorney
 9

10   TKccAdie      'Xme

11
     MICHELLE J. KANE

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     Assistant United States Attorney

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     INDICTMENT
